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 Name, Address, Telephone No. & I.D. No.
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                     UNITED STATES BANKRUPTCY COURT
                                           District of Nevada


 In Re
 AT EMERALD, LLC
                                                                                           BANKRUPTCY NO.
                                                                                           CHAPTER NO. 11
                                                                               Debtor(s)


                                                DECLARATION RE: ELECTRONIC FILING OF PETITION
                                                 SCHEDULES, STATEMENTS AND PLAN (if applicable)
PART I - DECLARATION OF PETITIONER
         I [We] ANTHONY THOMAS and                                , the undersigned debtor(s) hereby declare under penalty of
perjury that the information I have given my attorney and the information provided in the electronically filed petition,
statements, schedules, amendments and plan (if applicable) as indicated above is true and correct. I consent to my
attorney filing my petition, this declaration, statements, schedules and plan (if applicable) as indicated above to the United
States Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk
once all schedules have been filed electronically but, in no event, no later than 15 days following the date the petition was
electronically filed. I understand that failure to file the signed original of this DECLARATION will cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.
                   If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under
                   chapter 7 or 13. I am aware that I may proceed under chapter 7, 11, 12, or 13 of 11 United States Code,
                   understand the relief available under each such chapter, and choose to proceed under chapter 7 or 13. I
                   request relief in accordance with the chapter specified in this petition.
                   [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information
                   provided in this petition is true and correct, and that I have been authorized to file this petition on behalf of
                   the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
Dated:        March 4, 2014
                                      Signed:        /s/ ANTHONY THOMAS
                                                     ANTHONY THOMAS/MANAGING MEMBER
                                                            (Applicant)
PART II - DECLARATION OF ATTORNEY
        I, the attorney for the petitioner named in the foregoing petition, declare that, I have informed the petitioner that [he
or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available
under each such chapter.
Dated:        March 4, 2014

                                      Signed:        /s/ ALAN R. SMITH, ESQ.
                                                     ALAN R. SMITH, ESQ.
                                                        Attorney for Debtor(s)




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